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 New Case
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 Case                   Court:                                               Case Id                       Filing Date:
                        63rd District Court                                  27818                         09/06/2016
 Respondent             Case Type(s) / Re-Opens Action Date                  Disposition Date              Disposition Type
                        1. Debt/Contract - 09/06/2016
 Petitioner
                        Consumer/DTPA
 Other Party            Style:
                        ROBERT M. RICHARDS VS. ALLSTATE
 Other                  INDEMNITY COMPANY, RICK GONZALEZ
 Primary                AND TODD CURTIS
 Party

 Attorney         Enter another Event

 Bond

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                                    CAUSE NO. 32780


ROBERT M. RICHARDS                                                 IN THE DISTRICT COURT



V.                                                                63RD JUDICIAL DISTRICT


ALLSTATE INDEMNITY COMPANY,
RICK GONZALEZ AND TODD CURTIS                                 VAL VERDE COUNTY, TEXAS

                               PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff ROBERT M. RICHARDS, files this Original Petition against ALLSTATE

INDEMNITY COMPANY ("ALLSTATE" or the "INSURANCE DEFENDANT"), RICK

GONZALEZ ("GONZALEZ" or "ADJUSTER DEFENDANT(S)" or herein collectively as

"DEFENDANTS") and TODD CURTIS ("CURTIS" or "ADJUSTER DEFENDANT(S)" or

herein collectively as "DEFENDANTS") and in support thereof, would show as follows:

                                          I.
                             DISCOVERY CONTROL PLAN LEVEL

        Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas Rules

of Civil Procedure. This case involves complex issues and will require extensive discovery. Therefore,

Plaintiff will ask the Court to order that discovery be conducted in accordance with a discovery control

plan tailored to the particular circumstances of this suit.


                                      PARTIES AND SERVICE

        Plaintiff resides in Bexar, Texas.




                                                                             EXHIBIT

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        Defendant ALLSTATE is in the business of insurance in the State of Texas. The insurance

business done by INSURANCE DEFENDANT in Texas includes, but is not limited to, the

following:

        •      The making and issuing of contracts of insurance with the Plaintiff;

        •      The taking or receiving of application for insurance, including the Plaintiff's
               application for insurance;

        •      The receiving or collection of premiums, commissions, membership fees,
               assessments, dues or other consideration for any insurance or any part thereof,
               including any such consideration or payments from the Plaintiff; and

        •      The issuance or delivery of contracts of insurance to residents of this state or a
               person authorized to do business in this state, including the Plaintiff.

       This defendant may be served with personal process, by a process server, by serving its

registered agent CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas, 75201, or

wherever else it may be found.

       Defendant, TODD CUR'TIS, is an individual residing in and domiciled in the State of Texas.

This defendant may be served with personal process via personal service at, 8473 Emerald Circle,

North Richland Hills, Texas, 76180 or wherever else he may be found.

       Defendant, RICK GONZALEZ, is an individual residing in and domiciled in the State of

Texas. This defendant may be served with personal process via personal service at, 8914 Magnolia

Vale, Granbury, Texas, 76049, or wherever else he may be found.

                                           IlL
                                 JURISDICTION AND VENUE

       Venue is appropriate in Val Verde County, Texas because all or part of the conduct giving

rise to the causes of action were committed in Val Verde County, Texas and the Plaintiff and

property which is the subject of this suit is located in Val Verde County, Texas.

       Accordingly, venue is proper pursuant to Texas Civil Practice & Remedies Code §15.002.



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                                              IV.
                                             FACTS

        Plaintiff is the owner of a Texas Landlord's Insurance Policy (hereinafter referred to as

"the Policy"), which was issued by INSURANCE DEFENDANT.

        Plaintiff owns the insured property, which is specifically located at 1711 San Pedro, Del

Rio, Texas 78840 (hereinafter referred to as "the Property").

        INSURANCE DEFENDANT sold the Policy insuring the Property to Plaintiff.

        On or about February 23, 2016 and during the terms of said Policy, Plaintiff sustained

covered losses in the form of wind and/or hail damage and damages resulting therefrom, and

Plaintiff timely reported same pursuant to the terms of the Policy. Plaintiff asked that

INSURANCE DEFENDANT cover the cost of repairs to the Property pursuant to the Policy.

INSURANCE DEFENDANT failed to conduct a full, fair and adequate investigation of Plaintiff's

covered damages.

        As detailed in the paragraphs below, INSURANCE DEFENDANT wrongfully denied

Plaintiff's claim for repairs to the Property, even though the Policy provided coverage for

losses such as those suffered by Plaintiff. Furthermore, INSURANCE DEFENDANT failed

to pay Plaintiff's claim by not providing full coverage for the damages sustained by Plaintiff.

       To date, INSURANCE DEFENDANT continues to delay in the payment for the damages

to the Property.

       INSURANCE DEFENDANT failed to perform its contractual duty to adequately

compensate Plaintiff under the terms of their Policy. Specifically, INSURANCE

DEFENDANT refused to pay the full proceeds of the Policy after its agent, ADJUSTER

DEFENDANT conducted an outcome-oriented investigation, although due demand was made for

proceeds to be paid in an amount sufficient to cover the damaged property, and all conditions



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precedent to recovery under the Policy have been carried out and accomplished by Plaintiff.

INSURANCE DEFENDANT'S conduct constitutes a breach of the insurance contract between it

and Plaintiff.

        Pleading further, INSURANCE DEFENDANT misrepresented to Plaintiff that the

damage to the Property was not covered under the Policy, even though the damage was caused

by a covered occurrence. INSURANCE DEFENDANT'S conduct constitutes a violation of

the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(1).

        INSURANCE DEFENDANT failed to make an attempt to settle Plaintiff's claim in a

fair manner, although it was aware of its liability to Plaintiff under the Policy. Its conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.

CODE §541.060(a)(2)(A).

        INSURANCE DEFENDANT failed to explain to Plaintiff any valid reason for its coverage

denial and offer of an inadequate settlement. Specifically, it failed to offer Plaintiff full

compensation, without any valid explanation why full payment was not being made. Furthermore,

INSURANCE DEFENDANT did not communicate that any future settlements or payments would

be forthcoming to pay for the entire loss covered under the Policy, nor did it provide any explanation

for the failure to adequately settle Plaintiff's claim. INSURANCE DEFENDANT conduct is a

violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

       INSURANCE DEFENDANT failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's

claim, and requesting all information reasonably necessary to investigate Plaintiff's claim within

the statutorily mandated time of receiving notice of Plaintiff's claim. Its conduct constitutes

a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.




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        Further, INSURANCE DEFENDANT failed to accept or deny Plaintiff's full and

entire claim within the statutorily mandated time of receiving all necessary information. Its

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.

TEX. INS. CODE §542.056.

        INSURANCE DEFENDANT failed to meet its obligations under the Texas Insurance Code

regarding payment of claims without delay. Specifically, it has delayed full payment of

Plaintiff's claim and, to date, Plaintiff has not received full payment for the claim. Its conduct

constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.

CODE §542.058.

        From and after the time Plaintiff's claim was presented to INSURANCE

DEFENDANT, its liability to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, it has refused to pay Plaintiff in full, despite there being no basis

whatsoever upon which a reasonable insurance company would have relied to deny the full

payment. INSURANCE DEFENDANT'S conduct constitutes a breach of the common law duty

of good faith and fair dealing.

       Additionally, INSURANCE DEFENDANT knowingly or recklessly made false

representations, as described above, as to material facts and/or knowingly concealed all or part of

material information from Plaintiff

       Because of INSURANCE DEFENDANT'S wrongful acts and omissions, Plaintiff

was forced to retain the professional services of the attorney and law firm who is

representing Plaintiff with respect to these causes of action.




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                                                 V.

               CAUSES OF ACTION AGAINST INSURANCE DEFENDANT

A.      BREACH OF CONTRACT

        INSURANCE DEFENDANT'S conduct constitutes a breach of the insurance contract

between it and Plaintiff Defendant's failure and/or refusal, as described above, to pay Plaintiff

adequate compensation as it is obligated to do under the terms of the Policy in question, and

under the laws of the State of Texas, constitutes a breach of the insurance contract with

Plaintiff

B.      NONCOMPLIANCE WITH TEXAS INSURANCE CODE:

        1.      UNFAIR SETTLEMENT PRACTICES

        INSURANCE DEFENDANT'S conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices: TX. INS. CODE §541.060(a). All violations under this

article are made actionable by TEX. INS. CODE §541.151.

       INSURANCE DEFENDANT'S unfair settlement practice, as described above, of

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE §541.060(a)(1).

       INSURANCE DEFENDANT'S unfair settlement practice, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

even though its liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE §541.060(a)(2)(A).




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        INSURANCE DEFENDANT'S unfair settlement practice, as described above, of

refusing to pay Plaintiff's claim without conducting a reasonable investigation, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE §541.060(a)(7).

        2.     THE PROMPT PAYMENT OF CLAIMS

        INSURANCE DEFENDANT'S conduct constitutes multiple violations of the Texas

Insurance Code, Prompt Payment of Claims. All violations made under this article are made

actionable by TEX. INS. CODE §542.060.

        INSURANCE DEFENDANT'S failure to acknowledge receipt of Plaintiff's claim,

commence investigation of the claim, and request from Plaintiff all items, statements, and forms

that it reasonably believed would be required within the applicable time constraints, as

described above, constitutes a non-prompt payment of claims and a violation of TEX. INS. CODE

§542.055.

        INSURANCE DEFENDANT'S failure to notify Plaintiff in writing of its acceptance or

rejection of the claim within the applicable time constraints constitutes a non-prompt payment

of the claim. TEX. INS. CODE §542.056.

       INSURANCE DEFENDANT'S delay of the payment of Plaintiff's claim following its

receipt of all items, statements, and forms reasonably requested and required, longer than the

amount of time provided for, as described above, constitutes a non-prompt payment of the claim.

TEX. INS. CODE §542.058.

C.     BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       INSURANCE DEFENDANT'S conduct constitutes a breach of the common law duty of

good faith and fair dealing owed to insureds pursuant to insurance contracts.




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        INSURANCE DEFENDANT'S failure, as described above, to adequately and reasonably

investigate and evaluate Plaintiff's claim, although, at that time, it knew or should have known by

the exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of

the duty of good faith and fair dealing.

                                    VI.
               CAUSES OF ACTION AGAINST ADJUSTER DEFENDANTS

A.     NONCOMPLIANCE WITH TEXAS INSURANCE CODE

       Plaintiff re-alleges the foregoing paragraphs. At all pertinent times, CURTIS AND

GONZALEZ, the ADJUSTER DEFENDANTS, were engaged in the business of insurance as

defined by the Texas Insurance Code. The acts and omissions of the ADJUSTER DEFENDANTS

and their agents constitute one or more violations of the Texas Insurance Code. More specifically,

the ADJUSTER DEFENDANTS have, among other violations, violated the following provisions

of the Code:

           1. Insurance Code § 542.003(b)(5) and 28 TAC 21.203(5).

           2. Insurance Code chapter 541, section 541.060 by, among other things:

       •   misrepresenting one or more material facts and/or policy provisions relating to
           coverage;

       •   failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
           a claim with respect to which their liability has become reasonably clear;

       •   failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of
           a claim under one portion of a policy with respect to which liability has become
           reasonably clear in order to influence Plaintiff to settle the claim with respect to another
           portion of the policy;

       •   failing to promptly provide a reasonable explanation of the basis in law or fact for the
           denial of Plaintiffs claims;

       •   refusing to affirm or deny coverage within a reasonable time;

       •   refusing to conduct a reasonable investigation;



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         •   ignoring damage known to be covered by the Policy; and/or

         •   conducting an outcome-oriented investigation in order to provide INSURANCE
             DEFENDANT with a basis to underpay the claim.

         The foregoing paragraphs are incorporated herein. The INSURANCE DEFENDANT

assigned the loss and the claim to RICK GONZALEZ AND TODD CURTIS who was at all

pertinent times the agent of the INSURANCE DEFENDANT, through both actual and apparent

authority. The acts, representations and omissions of the ADJUSTER DEFENDANTS are

attributed to the INSURANCE DEFENDANT.

         GONZALEZ inspected Plaintiff's property on or about May 1, 2016. During the

inspection, ADJUSTER DEFENDANT was tasked with the responsibility of conducting a

thorough and reasonable investigation of Plaintiff's claim, including determining the cause of and

then quantifying all of the damage done to Plaintiffs property. During the inspection,

GONZALEZ ignored covered damages to the Property and refused to address all of the damages

caused by the loss. Specifically, Gonzalez, ignored covered damages including but not limited to

the roof and garage door. Subsequent to the inspection, GONZALEZ prepared a repair estimate,

completed on or about May 09, 2016, which vastly under-scoped the actual covered damages to

the property, thus demonstrating GONZALEZ did not conduct a thorough investigation of the

claim.

         CURTIS reinspected Plaintiffs property on or about July 7, 2016. During the reinspection,

CURTIS was tasked with the responsibility of conducting a thorough and reasonable investigation

of Plaintiffs claim, including determining the cause of and then quantifying all of the damage

done to Plaintiff's property. During the inspection, CURTIS ignored covered damages to the

Property and refused to address all of the damages caused by the loss. Specifically, Curtis, ignored




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covered damages including but not limited to the roof and garage door. Subsequent to the

inspection, CURTIS prepared a repair estimate, completed on or about July 07, 2016, which vastly

under-scoped the actual covered damages to the property, thus demonstrating CURTIS did not

conduct a thorough investigation of the claim.

        Despite having been assigned the claim, and despite being given authority and instructions

to inspect, adjust and evaluate the claim, the ADJUSTER DEFENDANTS failed and refused to

properly adjust the claim. The ADJUSTER DEFENDANTS failed to properly inspect the property

and the damages, failed to request information, failed to adequately investigate the claim, failed to

respond to requests for information from the Plaintiff, failed to timely evaluate the claim, failed to

timely and properly estimate the claim, and failed to timely and properly report to the

INSURANCE DEFENDANT and make recommendations to the INSURANCE DEFENDANT to

address all the covered damages.

       The Plaintiff provided information regarding the loss and the claim to the ADJUSTER

DEFENDANTS. The Plaintiff allowed the ADJUSTER DEFENDANTS full and complete access

to the property. The Plaintiff provided sufficient information to the ADJUSTER DEFENDANTS

to adjust and evaluate the loss. The Plaintiff made inquiries regarding the status of the loss and

payment, but the ADJUSTER DEFENDANTS failed and refused to respond to the inquiries and

failed to properly adjust the claim and the loss. As a result of the ADJUSTER DEFENDANTS'

inadequate and outcome-oriented investigation, to date, Plaintiff has not received full payment for

the claim.

       The ADJUSTER DEFENDANTS' actions were negligent, reckless, willful and intentional,

and were the proximate and producing cause of damages to the Plaintiff.




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        Where statements were made by the ADJUSTER DEFENDANTS, Plaintiff reasonably

 relied upon them. As a result of the foregoing conduct, which was and is the producing cause(s)

of injury and damage to Plaintiff, Plaintiff has suffered damages including, without limitation,

actual damages, economic damages, and consequential damages. Moreover, one or more of the

foregoing acts or omissions were "knowingly" made, entitling Plaintiff to seek treble damages

pursuant to the Insurance Code.

                                            VII.
                                         KNOWLEDGE

        Each of the acts described above, together and singularly, was done "knowingly" by

DEFENDANTS as that term is used in the Texas Insurance Code, and was a producing cause

of Plaintiff's damages described herein.


                                           DAMAGES

       Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the proximate and producing causes of the damages sustained by Plaintiff.

       As previously mentioned, the damages Caused by the covered losses have not been

prciperly addressed or repaired in the months since the loss occurred, causing further damage to the

Property, and causing undue hardship and burden to Plaintiff. These damages are a direct result of

DEFENDANTS' mishandling of Plaintiff's claim in violation of the laws set forth above.

       For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which

is the amount of the claim, together with attorney's fees.

       For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, court costs, and attorney's fees. For knowing conduct of the acts described




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above, Plaintiff asks for three times the actual damages. TEX. INS. CODE §541.152.

        For noncompliance with the Texas Insurance Code, Prompt Payment of Claims,

Plaintiff is entitled to the amount of Plaintiffs claim, as well as eighteen (18) percent interest per

annum on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

§542.060.

        For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, losses due to nonpayment of the amount the insurer owed, and

exemplary damages.

        For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorney whose name is subscribed to this pleading. Therefore,

Plaintiff is entitled to recover a sum for the reasonable and necessary services of Plaintiffs

attorney in the preparation and trial of this action, including any appeals to the Court of Appeals

and/or the Supreme Court of Texas.

                                                 IX.

        In addition, as to any exclusion, condition, or defense pled by DEFENDANTS, Plaintiff

would show that:

        The clear and unambiguous language of the policy provides coverage for damage caused

by losses made the basis of Plaintiffs claim, including the cost of access to fix the damages;

        In the alternative, any other construction of the language of the policy is void as against

public policy;

       Any other construction and its use by the DEFENDANTS violate the Texas Insurance Code

section 541 et. seq. and is void as against public policy;




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        Any other construction violates Art. 17.50 of the Texas Business and Commerce Code and

is unconscionable and is void as against public policy and was procured by fraudulent inducement;

        Any other construction is otherwise void as against public policy, illegal, and violates state

law and administrative rule and regulation.

       In the alternative, should the Court find any ambiguity in the policy, the rules of

construction of such policies mandate the construction and interpretation urged by Plaintiff;

       In the alternative, DEFENDANTS are judicially, administratively, or equitably estopped

from denying Plaintiff's construction of the policy coverage at issue;

       In the alternative, to the extent that the wording of such policy does not reflect the true

intent of all parties thereto, Plaintiff pleads the doctrine of mutual mistake requiring information.

                                          X.
                                REQUEST FOR DISCLOSURES

       Pursuant to the Texas Rules of Civil Procedure 194, Plaintiff requests that DEFENDANTS

provide the information required in a Request for Disclosure.

                                 XL
         FIRST REQUEST FOR PRODUCTION TO INSURANCE DEFENDANT

       1) Produce the INSURANCE DEFENDANT's complete claim file (excluding all
          privileged portions) in your possession for Plaintiff's property relating to or arising out
          of any damages caused by the loss for which INSURANCE DEFENDANT opened a
          claim under the Policy. Please produce a privilege log for any portions withheld on a
          claim of privilege.

       2) Produce all non-privileged emails and other forms of communication between
          INSURANCE DEFENDANT, its agents, adjusters, employees, or representatives and
          the adjuster, and/or their agents, adjusters, representatives or employees relating to,
          mentioning, concerning or evidencing the Plaintiff's property which is the subject of
          this suit.

       3) Produce any complete claim file (excluding all privileged portions) in the
          INSURANCE DEFENDANT's possession for the Plaintifginsured and/or for the
          Plaintiff's property as listed in the Plaintiff's Original Petition, relating to or arising
          out of any claim for damages which INSURANCE DEFENDANT opened a claim



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            under any policy. Please produce a privilege log for any portions withheld on a claim
            of privilege.

                                XII.
   FIRST REQUEST FOR PRODUCTION TO ADJUSTER DEFENDANT GONZALEZ

        1) Produce ADJUSTER DEFENDANT's complete claim or adjusting file for Plaintiffs
           property. Please produce a privilege log for any portions withheld on a claim of
           privilege.

        2) Produce all emails and other forms of communication between INSURANCE
           DEFENDANT, its agents, adjusters, employees, or representatives and the ADJUSTER
           DEFENDANT, and/or their agents, adjusters, representatives or employees relating to,
           mentioning, concerning or evidencing the Plaintiffs property which is the subject of
           this suit. This includes any correspondence or communications related to the Plaintiffs
           property, whether related to this claim or any other claim in the INSURANCE
           DEFENDANT'S possession. Please produce a privilege log for any items withheld on
           a claim of privilege.

                                XIII.
     FIRST REQUEST FOR PRODUCTION TO ADJUSTER DEFENDANT CURTIS

        1) Produce ADJUSTER DEFENDANT's complete claim or adjusting file for Plaintiffs
           property. Please produce a privilege log for any portions withheld on a claim of
           privilege.

       2) Produce all emails and other forms of communication between INSURANCE
          DEFENDANT, its agents, adjusters, employees, or representatives and the ADJUSTER
          DEFENDANT, and/or their agents, adjusters, representatives or employees relating to,
          mentioning, concerning or evidencing the Plaintiffs property which is the subject of
          this suit. This includes any correspondence or communications related to the Plaintiffs
          property, whether related to this claim or any other claim in the INSURANCE
          DEFENDANT'S possession. Please produce a privilege log for any items withheld on
          a claim of privilege.

                                              XIV.

       As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs counsel states that

the damages sought are in an amount within the jurisdictional limits of this Court. As required by

Rule 47(c), Texas Rules of Civil Procedure, Plaintiffs counsel states that Plaintiff seeks monetary

relief, the maximum of which is over $100,000 but not more than $200,000. The amount of

monetary relief actually awarded, however, will ultimately be determined by a jury. Plaintiff also



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seeks pre-judgment and post-judgment interest at the highest legal rate.

                                                 XV.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that DEFENDANTS be cited

to appear and answer herein; that, on final hearing, Plaintiff have judgment against DEFENDANTS

for an amount, deemed to be just and fair by the jury, which will be a sum within the jurisdictional

limits of this Court; for costs of suit; for interest on the judgment; for pre-judgment interest; and, for

such other and further relief, in law or in equity, either general or special, including the non-

monetary relief of declaratory judgment against the ENSURANCE DEFENDANT, to which

Plaintiff may be justly entitled.

                                        Respectfully submitted,

                                        KETTERMAN ROWLAND & WESTLUND
                                        16500 San Pedro, Suite 302
                                        San Antonio, Texas 78232
                                        Telephone:    (210) 490-7402
                                        Facsimile:    (210) 490-8372


                                        BY:     /s/Kevin S. Baker
                                               Kevin S. Baker
                                               State Bar No. 00797799
                                               kevin@lcrwlawyers.com
                                               Michelle C. Le
                                               State Bar No. 24085427
                                               michellel@lcrwlawyers.com


                                               ATTORNEYS FOR PLAINTIFF


                         PLAINTIFF REQUESTS A TRIAL BY JURY




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                                           CITATION PERSONAL SERVICE

 THE STATE OF TEXAS                                  Cause No. 32780
 ROBERT M. RICHARDS, Plaintiff                                             IN THE 63RD DISTRICT COURT
 VS.
 ALLSTATE INDEMNITY COMPANY, RICK GONZALEZ AND §                           OF
 TODD CURTIS, Defendants
                                                                           VAL VERDE COUNTY, TEXAS

NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a
written answer with the clerk who issued this citation by 10:00 am on the Monday next following the expiration of
20 days after the date you were served this citation and petition, a default judgment may be taken against you."
TO: ALLSTATE INDEMNITY COMPANY, BY SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM, 1999
    Bryan Street, Suite 900, Dallas, Dallas County, Texas 75201; Defendant GREETINGS:

You are hereby commanded to appear by filing a written answer to the Plaintiff's Original Petition (with Discovery) at or
before 10:00 o'clock A.M. on the Monday next after the expiration of 20 days after the date of service of this citation before
the Honorable 63rd JUDICIAL DISTRICT Court of Val Verde County, at the Courthouse, 100 E. Broadway, 2"d Floor, in said
County in Del Rio, Texas. Said Plaintiffs Original Petition (with Discovery) was filed in said court on the day of 6'1' day of
September, 2016 in the above entitled cause.
The nature of Plaintiff's demand is fully shown by a true and correct copy of the Plaintiffs' Original Petition (with Discovery)
accompanying this citation and made a part thereof.

Issued and given under my hand and seal of said Court at Del Rio, Texas this 13th day of August, 2016.
Attorney for Plaintiff (or Plaintiff)                                  Clerk of the Court:
Kevin S. Baker                                                         JO ANN CERVANTES, DISTRICT CLERK
KETTERMAN ROWLAND & WESTLUND                                           63rd & 83rd District Courts
16500 San Pedro, Suite 302                                             Val Verde County, Texas
San Antonio, Texas 78232                                               P.O. Box 1544
                                                                       Del Rio, Texas 78841-1544
        EXHIBIT
           A sok                                                       By:
  3                                                                           Deputy

                                                  OFFICER'S RETURN

Came to hand on the          day of             2016 at          o'clock M. and executed the         day of
2016 by delivering to defendant                                            in person, a true copy of this citation with a copy of
the petition attached thereto at           o'clock .M. at                                                                 in
                 County, Texas.

[ 1 Not executed. The diligence use in finding defendant being

[ ] Information received as to the whereabouts of defendant being


Fees                                                                                                         Sheriff/Constable
                                                                                                     County, Texas
Service I.D. No.                                                       By:
                                                                             Deputy/Authorized Person
                                                        VERIFICATION
         On this day personally appeared                                             known to me to be the person whose name
i subscribed on the foregoing instrument and who has stated: upon penalty of perjury, I attest that the foregoing instrument has
been executed by me in this cause pursuant to the Texas Rules of Civil Procedure. I am over the age of eighteen years and
I am not a party to or interested in the outcome of this suit, and have been authorized by the Val Verde County Courts to serve
process.

        Subscribed and sworn to before me on this the             day of                           , 2016.

                                                                                                             , Notary Public
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                                                                        20 10/28/2016 2:45:47 P
                                                                                           Jo Ann Cervantes, District Cle
                                                                                                 Val Verde County, Tex
                                                                                                        Mary Jane Patir



                                        CAUSE NO. 32780

ROBERT M. RICHARDS                                                   IN THE DISTRICT COURT

        Plaintiff
VS.                                                                    63RD JUDICIAL COURT

ALLSTATE INDEMNITY COMPANY,
RICK GONZALEZ AND TODD CURTIS

        Defendants.                                             VAL VERDE COUNTY, TEXAS


      DEFENDANT ALLSTATE INDEMNITY COMPANY'S ORIGINAL ANSWER TO
        PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, ALLSTATE INDEMNITY COMPANY ("Defendant") and files this, its

Original Answer and would respectfully show as follows:

                                    I. ORIGINAL ANSWER

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every, all and singular, the allegations contained within Plaintiff's Original Petition,

and demand strict proof thereon by a preponderance of the credible evidence in accordance with

the Constitution and laws of the State of Texas.

                              II. REQUEST FOR DISCLOSURE

        Under Rule 194, Defendant Allstate Indemnity Company requests that within 30 days of

the service of this request, Plaintiff discloses the information or material described in Rule 194.2.

                                          III. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Indemnity Company

prays that upon final trial and hearing hereof, Plaintiff recovers nothing from Defendant, but


DEFENDANT ALLSTATE INDEMNITY COMPANY'S ORIGINAL ANSWER TO PLAINTIFF'S ORIGINAL PETITION - PAGE 1
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Defendant goes hence without delay and recovers costs of court and other such further relief,

both general and special, to which Defendant may be justly entitled.


                                            Respectfully submitted,



                                            By:     /s/Roger D. Higgins
                                                    Roger D. Higgins
                                                    State Bar. No. 09601500
                                                    Travis M. Brown
                                                    State Bar No. 24061890

                                            THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                            Plaza of the Americas, 700 N. Pearl Street, Twenty-
                                            Fifth Floor
                                            Dallas, Texas 75201-2832
                                            Telephone: (214) 871-8268
                                            Facsimile: (214) 871-8209
                                            Email: tbrovvn@thompsoncoe.com

                                            ATTORNEYS FOR DEFENDANT
                                            ALLSTATE INDEMNITY COMPANY


                               CERTIFICATE OF SERVICE

        This is to certify that on the 28th day of October, 2016, a true and correct copy of the
foregoing document was delivered to all counsel of record in accordance with the Texas Rules of
Civil Procedure as follows:

Kevin S. Baker
kevin@krwlawyers.com
Michelle C. Le
michellelAkrwlawyers.com
Ketterman Rowland & Westlund
16500 San Pedro, Suite 302
San Antonio, TX 78232
Telephone: (210) 490-7402
Facsimile: (210) 490-8372

Counsel for Plaintiff

                                                    /s/Travis M. Brown
                                                    Travis M. Brown

DEFENDANT ALLSTATE INDEMNITY COMPANY'S ORIGINAL ANSWER TO PLAINTIFF'S ORIGINAL PETITION - PAGE 2
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